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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TENNESSEE
                                   WESTERN DIVISION



NOVO NORDISK A/S AND NOVO                          Case No. _______________
NORDISK INC.

               Plaintiffs,

       v.

PRO HEALTH INVESTMENTS, LLC,

               Defendant.

                           PLAINTIFF NOVO NORDISK A/S’S
                         CORPORATE DISCLOSURE STATEMENT

       Pursuant to Fed. R. Civ. P. 7.1, Plaintiff, Novo Nordisk A/S, makes the following

disclosures:

        NNAS is a publicly traded corporation headquartered in Bagsværd, Denmark. No

publicly held company owns 10% or more of the stock of NNAS.

       NNAS’s corporate parent is Novo Holdings A/S. Novo Holdings A/S is wholly owned

by Novo Nordisk Foundation, a privately held entity.


                                            Respectfully submitted,

                                            s/ Steven A. Riley
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                                   Novo Nordisk Inc.




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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was provided to a

private process server for personal service on the following and also sent via U.S. Certified Mail

(with return receipt requested) on the 20th day of June 2023 to the following:

       Estes Folk
       3445 Poplar Ave
       Suite 18
       Memphis, TN 38111-4667

       Registered Agent for Defendant

                                             s/ Steven A. Riley




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